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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                      Plaintiff,
                                                              Case No. 13-20892
 vs.
                                                              HON. GEORGE CARAM STEEH
 TOUSIF KHAN (D-15),

                 Defendant.
 ___________________________________/

            ORDER DENYING DEFENDANT’S DISCOVERY MOTIONS
             WITHOUT PREJUDICE [DOCS. 290, 291, AND 292] AND
       ORDERING THE RETENTION AND PRESERVATION OF ROUGH NOTES

        This matter has come before the court on defendant Tousif Khan’s motion for

 production or retention of rough notes, motion to compel discovery and motion for

 disclosure of impeaching information. For the reasons stated on the record, the three

 discovery motions are denied without prejudice. The government is ordered, and has

 agreed, to make sure that the agents retain and preserve the rough notes made during

 the course of the investigation in this case.

 Dated: March 23, 2015

                                             S/George Caram Steeh
                                             GEORGE CARAM STEEH
                                             UNITED STATES DISTRICT JUDGE


                                   CERTIFICATE OF SERVICE

                    Copies of this Order were served upon attorneys of record on
                         March 23, 2015 by electronic and/or ordinary mail.

                                       S/Marcia Beauchemin
                                          Deputy Clerk
